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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION

 AVX Corporation,                 )
                                  )
                      Plaintiff,  )                   Civil Action No. 6:20-cv-1244-TMC
                                  )
 vs.                              )
                                  )
 United States of America,        )                  CONSENT JUDGMENT AND ORDER
                                  )
                      Defendant.  )
                                  )
 _________________________________)

       Plaintiff AVX Corporation (“AVX”) brought this action pursuant to 26 U.S.C. § 7422

seeking a refund of monies seized by the Defendant, United States of America, to satisfy penalties

improperly assessed against AVX by the Internal Revenue Service (“IRS”). (ECF No. 1).

Pursuant to their joint motion for entry of a consent judgment, the parties have agreed to resolve

all matters in controversy in this action and consent to entry of a Judgment and Order by this court

in accordance therewith. (ECF No. 15).

       Accordingly, the court finds that AVX overpaid the penalties assessed against it and

collected by the IRS pursuant to 26 U.S.C. § 6038B in the amount of $300,000. The court therefore

GRANTS the parties’ joint motion for entry of a consent judgment, (ECF No. 15), and ORDERS

that judgment be entered in favor of AVX against the United States for $300,000, plus interest. It

is further ORDERED that all other claims asserted in the Complaint are DISMISSED with

prejudice.

       IT IS SO ORDERED.

                                                      s/Timothy M. Cain
                                                      United States District Judge
June 19, 2020
Anderson, South Carolina


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